Case 2:21-cv-04904-GRB-AYS Document 11
                                    10 Filed 10/07/21
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                                                                            58
                                                                                           FILED
                                                                                           CLERK

                       IN THE UNITED STATES DISTRICT COURT 9:18 am, Oct 07, 2021
                      FOR THE EASTERN DISTRICT OF NEW YORK    U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT OF NEW YORK
DISPLAY TECHNOLOGIES, LLC,            §                                           LONG ISLAND OFFICE
                                      §
      Plaintiff,                      §              Case No: 2:21-cv-04904-GRB-AYS
                                      §
vs.                                   §              PATENT CASE
                                      §
NIKON AMERICAS, INC.,                 §
                                      §
      Defendant.                      §
_____________________________________ §

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Nikon Americas,

Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT
PREJUDICE                                                                                        |1
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Dated: October 6, 2021.                      Respectfully submitted,



                                             /s/ Jay Johnson
                                             JAY JOHNSON
                                             State Bar No. 24067322
                                             D. BRADLEY KIZZIA
                                             State Bar No. 11547550
                                             KIZZIA JOHNSON, PLLC
                                             1910 Pacific Ave., Suite 13000
                                             Dallas, Texas 75201
                                             (214) 451-0164
                                             Fax: (214) 451-0165
                                             jay@kjpllc.com
                                             bkizzia@kjpllc.com

                                             ATTORNEYS FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on October 6, 2021. Parties may
access the foregoing through the Court’s system.

                                         /s/ Jay Johnson
                                         JAY JOHNSON




                    Dated: 10/4/2021
                    So Ordered. The Clerk of the Court is directed to close this case.
                    /s/ Gary R. Brown
                    GARY R. BROWN, U.S.D.J.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT
PREJUDICE                                                                                       |2
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